 

ease 9511-mj-03291-LRJ Docqr`nem 9 Ente'red on FLSD Docket 07/_26/2011 Pajge '1 of 1

UNITED S'TATES DISTI'{']'I'C':I'.i COURT
SOUTHERN DISTRICT OF FLORIDA

cAsE No.= //”g@??/" {/77

UNITED STATES oF AMERICA //’M ”/@ / -
Plaintiff, `/§Z;/

vs ,

' /7/7;0¢`7,@ /M¢ @»»5&'

Defendant(s),

 

ORDER QF REMOVAL

. . ,A(n) ~. § .Compl-aint
'-“ =-" ‘ Indictment
Information ..
Probation Violation Warrant
Bench Warrant

having been filed in the l///KY€/U/ Distri t of`/Méw gm//C "5"/{%
charging the above named defendant with /J£WLFWQ¥ (7) , and
the defendant having

 

 

 

Surrendered

;£ Been Arrested

in the Southern District of Florida, having had an initial appearance before

the Court and having:
Zé Waived Further Hearing

Been given a hearing in
accordance with Fed.R.Crim.P. 40.

 

and having posted the bail as  set by the Court, it is thereuponw
ORDERED AND ADJUDGED as follows: .

-1. The defendant is held to answer in the District in which the charge
is outstanding and shall appear before the District Court thereof_
'at such time and place as may be ordered; and " ~

iile`"All funds deposited on behalf of this defendant w1th the Clerk ofxu
"' * Court pursuant to the Bail Reform Act shall be transferred to the
District where the charge is outstanding.

  
  
 

' norm " ORDER`ED at west 'Pal.m Beach,'~`-Florida this
Of 11 /ZJ//‘l 1¢3/)// - ‘

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L/ ' w§
LIN`NEA R. JOHNSON
UNITED STATES MAG TE JUDGE
c: Defendant
Defense Counsel
United States Attorney ‘ g ‘ ~ _a
United States Marshal
Unitedetates Pretrial Services
Clerk of Court (Financial Section, Miand)

 

